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                EXHIBIT 1
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 1                    IN THE UNITED STATES DISTRICT COURT

 2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                               SAN JOSE DIVISION

 4
       UNITED STATES OF AMERICA,             )   CR-21-00004-BLF-1
 5                                           )
                          PLAINTIFF,         )   SAN JOSE, CALIFORNIA
 6                                           )
                   VS.                       )   MAY 3, 2022
 7                                           )
       RILEY,                                )   PAGES 1-45
 8                                           )
                          DEFENDANT          )
 9                                           )
       _______________________________       )
10
                           TRANSCRIPT OF PROCEEDINGS
11                 BEFORE THE HONORABLE BETH LABSON FREEMAN
                         UNITED STATES DISTRICT JUDGE
12

13                           A P P E A R A N C E S

14

15          FOR THE PLAINTIFF:         BY: MICHAEL G. PITMAN
                                       UNITED STATES ATTORNEY'S OFFICE
16                                     150 ALMADEN BLVD., SUITE 900
                                       SAN JOSE, CA 95113
17

18          FOR THE DEFENDANT:         BY: DEJAN GANTAR
                                       FEDERAL PUBLIC DEFENDER'S OFFICE
19                                     55 S MARKET STREET, SUITE 820
                                       SAN JOSE, CA 95113
20

21          PROBATION:                 BY:   MELISSA MOY

22

23          OFFICIAL COURT REPORTER:          SUMMER FISHER, CSR, CRR
                                              CERTIFICATE NUMBER 13185
24

25              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                      TRANSCRIPT PRODUCED WITH COMPUTER


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 1          SAN JOSE, CALIFORNIA                       MAY 3, 2022

 2                             P R O C E E D I N G S

 3          (COURT CONVENED AT 9:50 A.M.)

 4               THE CLERK:    CALLING CASE 21-0004.     UNITED STATES V.

 5     AMANDA CHRISTINE RILEY.

 6          COUNSEL, PLEASE COME FORWARD AND STATE YOUR APPEARANCES.

 7               MR. PITMAN:    GOOD MORNING, YOUR HONOR.

 8          MICHAEL PITMAN FOR THE UNITED STATES.

 9               THE COURT:    GOOD MORNING.

10               MR. GANTAR:    GOOD MORNING, YOUR HONOR.

11          DEJAN GANTAR APPEARING WITH MS. RILEY.        SHE IS PRESENT

12     APPEARING OUT OF CUSTODY.

13               THE COURT:    GOOD MORNING.

14               PROBATION OFFICER:    AND GOOD MORNING AGAIN.

15          MELISSA MOY WITH U.S. PROBATION.

16               THE COURT:    GOOD MORNING.   THANK YOU FOR BEING HERE.

17          ALL RIGHT.   THIS IS THE TIME SET FOR SENTENCING OF

18     MS. RILEY; IS THAT CORRECT?

19               MR. GANTAR:    YES, YOUR HONOR.

20               MR. PITMAN:    YES, YOUR HONOR.

21               THE COURT:    AND WE ARE READY TO PROCEED?

22               MR. GANTAR:    YES.

23               THE COURT:    ALL RIGHT.

24          HAVE BOTH ATTORNEYS RECEIVED THE PRESENTENCE REPORT,

25     INCLUDING THE APRIL 29, 2022, REVISION?



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 1               MR. GANTAR:    YES, YOUR HONOR.   THE DEFENSE HAS.

 2               MR. PITMAN:   YES, YOUR HONOR.

 3               THE COURT:    OKAY.   AND ARE THERE ANY OTHER DOCUMENTS

 4     TO SUBMIT TO ME THIS MORNING?

 5               MR. GANTAR:    NOT FROM THE DEFENSE.

 6               MR. PITMAN:    WE DID RECEIVE A VICTIM IMPACT STATEMENT

 7     YESTERDAY.    I CIRCULATED IT TO PROBATION AND THE DEFENSE VIA

 8     E-MAIL, BUT I'M NOT CERTAIN THAT THE COURT RECEIVED A COPY.

 9               THE COURT:    IS THIS THE ONE FROM JESSA?

10               MR. PITMAN:   IT IS, YOUR HONOR.

11               THE COURT:    I DID RECEIVE IT.   THANK YOU.

12          AND I HAVE REVIEWED IT.     I APPRECIATE THAT.

13               MR. PITMAN:    NOTHING FURTHER, YOUR HONOR.

14               THE COURT:    OKAY.   I HAVE RECEIVED AND REVIEWED THE

15     PRESENTENCE REPORT AND THE SENTENCING MEMORANDA SUBMITTED BY

16     EACH PARTY.

17          IN THIS MATTER, MR. PITMAN, HAS THE UNITED STATES ATTORNEY

18    ADVISED ALL VICTIMS THAT THEY HAVE THE OPPORTUNITY TO BE

19    PRESENT IN COURT AND MAKE A STATEMENT TO THE COURT?

20               MR. PITMAN:   YES, YOUR HONOR.

21               THE COURT:    AND I DID READ ALL OF THE IMPACT

22     STATEMENTS THAT YOU DID SUBMIT.

23          I SEE A COURTROOM FULL OF PEOPLE.      DO YOU HAVE -- ARE

24     THERE VICTIMS HERE TODAY WHO YOU KNOW WISH TO BE HEARD?

25               MR. PITMAN:    YOUR HONOR, THERE ARE FOUR PEOPLE HERE



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 1     TODAY THAT WOULD LIKE TO BE HEARD.    I DON'T BELIEVE ALL OF THEM

 2     TECHNICALLY ARE VICTIMS UNDER THE CRIME VICTIM'S RIGHTS ACT.      I

 3     DISCUSSED THIS ISSUE WITH MR. GANTAR, BUT THERE ARE FOUR

 4     INDIVIDUALS WHO WOULD LIKE TO SPEAK TODAY.

 5               THE COURT:    MR. GANTAR, ARE YOU OBJECTING TO ANY OF

 6     THOSE INDIVIDUALS ADDRESSING THE COURT?

 7               MR. GANTAR:   I DON'T THINK SO, YOUR HONOR.

 8          WE LODGED ONE OBJECTION AS PART OF OUR SENTENCING

 9     MEMORANDUM.   I HAVE BEEN INFORMED BY THE GOVERNMENT THAT THAT

10     PARTICULAR INDIVIDUAL WILL NOT BE PRESENTED TO THE COURT TODAY.

11          SO I BELIEVE THAT'S OUR SOLE OBJECTION.

12               THE COURT:    OKAY.

13          ALL RIGHT.   LET ME TAKE CARE OF THE INFORMATION THAT I

14    NEED BEFORE I HEAR FROM THE VICTIMS SO THAT WE CAN THEN TURN IT

15    OVER TO THEIR PRESENTATION.

16          MR. GANTAR, HAVE YOU AND MS. RILEY READ AND DISCUSSED THE

17    PRESENTENCE REPORT?

18               MR. GANTAR:    WE HAVE, YOUR HONOR.

19               THE COURT:    ARE THERE ANY REMAINING OBJECTIONS?

20               MR. GANTAR:   NO, YOUR HONOR.

21               THE COURT:    MS. RILEY, DO YOU KNOW WHAT YOU HAVE BEEN

22     CONVICTED OF?

23               THE DEFENDANT:   YES, MA'AM.

24               THE COURT:    YOU HAVE BEEN CONVICTED OF COUNT 1,

25     VIOLATION OF 18 U.S. CODE SECTION 1343, WIRE FRAUD.



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 1          COUNT 1 CARRIES A MAXIMUM PRISON TERM OF 20 YEARS, A

 2     MAXIMUM FINE OF $250,000, MAXIMUM SUPERVISED RELEASE OF THREE

 3     YEARS AND A MANDATORY SPECIAL ASSESSMENT OF $100 AND

 4     RESTITUTION AND FORFEITURE.

 5          IN CALCULATING THE OFFENSE LEVEL, PROBATION STATES THAT

 6    THERE IS A BASE OFFENSE LEVEL OF 7, WITH AN INCREASE OF PLUS 8

 7    BASED ON THE AMOUNT OF FRAUD OF MORE THAN $95,000, BUT LESS

 8    THAN $150,000; A DECREASE OF NEGATIVE 2 FOR ACCEPTANCE OF

 9    RESPONSIBILITY.

10          CRIMINAL HISTORY LEVEL IS ONE.    THE ADJUSTED OFFENSE LEVEL

11    IS 13, WITH A RESULTING GUIDELINE OF 12 TO 18 MONTHS.

12          ARE THERE ANY OBJECTIONS TO THOSE CALCULATIONS?

13               MR. GANTAR:   NO, YOUR HONOR.

14               MR. PITMAN:   NO, YOUR HONOR.

15               THE COURT:    ALL RIGHT.

16          IN THIS MATTER, MS. RILEY HAS ENTERED A PLEA UNDER RULE 11

17     (C)(1)(A) AND (B), AND THEREFORE SHE MAY NOT WITHDRAW HER PLEA,

18     REGARDLESS OF THE COURT'S SENTENCE.

19          THE GUIDELINE RANGES FOR THIS MATTER, SENTENCING RANGE IS

20    12 TO 18 MONTHS IN PRISON, SUPERVISED RELEASE OF ONE TO

21    THREE YEARS, FINE RANGE IS $5,500 TO $55,000, SPECIAL

22    ASSESSMENT OF $100, RESTITUTION AND FORFEITURE.

23          ALL RIGHT.   I THINK I WOULD LIKE TO FIRST HEAR FROM ANY

24    VICTIMS WHO ARE HERE, AND THEN I WILL TURN TO MR. GANTAR AND

25    MS. RILEY FOR THEIR COMMENT.



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 1            SO MR. PITMAN, DO YOU HAVE INDIVIDUALS WHO WOULD LIKE TO

 2    ADDRESS THE COURT?

 3                MR. PITMAN:    YES.   THANK YOU, YOUR HONOR.

 4            I WOULD LIKE TO BEGIN WITH MS. WILDER, IF SHE'S AVAILABLE

 5    AND WOULD LIKE TO SPEAK.

 6                THE COURT:    AND MA'AM, IF YOU COULD STATE YOUR NAME

 7     BEFORE I HEAR YOUR COMMENTS.

 8                THE WITNESS:   I AM FULLY VACCINATED.

 9                THE COURT:    THANK YOU.

10                THE WITNESS:   MY NAME IS LINDSEY WILDER.

11                THE COURT:    THANK YOU, MS. WILDER.

12            GO AHEAD.

13                THE WITNESS:   AMANDA, I FIRST MET YOU IN A CHURCH, A

14     CHURCH WHERE YOU WERE A BELOVED MEMBER.      YOU WERE THE POOR,

15     YOUNG CHRISTIAN WOMAN THAT WAS FIGHTING A BATTLE UNDESERVED.

16            FOR A FRIEND DYING OF CANCER, HODGKIN'S LYMPHOMA,

17     TERMINAL, I COULDN'T DO MUCH, BUT I COULD POUR MY BLOOD OUT FOR

18     YOU.    I HAVE OVER 30 PICTURES OF ME HOLDING MY PRIZED "TEAM

19     AMANDA" MAGNET.

20            EACH WEEK IN 2015, I WOULD TRAVEL TO THE RED CROSS IN

21     SAN JOSE, HOPING TO DONATE PLATELETS.      I MAXED OUT MY DONATIONS

22     BY OCTOBER.   EVERY TIME I TOOK A PICTURE, IT WAS FOR YOU.       THE

23     RED CROSS KNEW I WAS DOING THIS FOR MY SWEET FRIEND, A

24     BEAUTIFUL, HONEST, TRANSPARENT, KIND SOUL, A MOTHER OF TWO

25     YOUNG BOYS THAT WOULD SOON BE GONE.



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 1           WE PRAYED FOR YOU EVERY TUESDAY.    THERE WERE CANDLELIGHT

 2    VIGILS, AUCTIONS, FUNDRAISERS, DONATIONS OF "BUCKET LIST"

 3    EXPERIENCES, GIVING YOU AS MUCH LOVE AND CARE AS WE COULD FOR A

 4    MOM WHO WOULDN'T GET TO SEE HER CHILDREN GRADUATE FROM HIGH

 5    SCHOOL.

 6           I TREASURED THE THINGS YOU GAVE ME, THINKING IT WOULD BE

 7    SOON, ALL THAT'S LEFT OF YOU.    I WENT TO BED EACH NIGHT PRAYING

 8    FOR YOUR MIRACLE.   AS A LIFELONG ATHEIST, THE FIRST TIME I

 9    PRAYED TO GOD WAS FOR YOU.    YOU STOLE SO MANY TEARS, TEARS FROM

10    PEOPLE YOU DIDN'T KNOW, AND TEARS FROM PEOPLE YOU DID KNOW.

11           IN THE TIMES YOU TOOK THE STAGE AT CHURCH IN FRONT OF YOUR

12    GOD, YOU SAID "MIRACLE," YOU SAID "TERMINAL," YOU SAID

13    "CANCER."   MIRACLE, TERMINAL, JESUS, MIRACLE, JESUS, TERMINAL.

14    WE ALL CALLED YOU ANOINTED.

15           I REMEMBER FEELING IN AWE OF YOUR STRENGTH.      WHEN YOU SAID

16    THAT THE CHEMO MADE EACH MORNING SO UNBEARABLY PAINFUL, THAT

17    THE ONLY WAY YOU COULD MOVE WAS TO TAKE A HOT SHOWER.

18           WHEN I MET YOU, YOUR HAIR WAS JUST STARTING TO GROW BACK,

19    YET YOU SEEMED SO BRIGHT, SO RESILIENT.     OF COURSE THERE WERE

20    THE MONETARY DONATIONS, THE EXPLOITATION OF HUNDREDS OF

21    GENEROUS PEOPLE'S WALLETS AND EMOTIONS.     YOUR LAST CHANCE AT

22    LIFE ENDED UP BEING A VACATION TO NEW YORK.

23           I FOUND OUT ABOUT THIS LAWSUIT THROUGH A VICTIM'S

24    NOTIFICATION FROM THE DEPARTMENT OF JUSTICE.        I STILL BELIEVED

25    YOU.   WHEN YOU CALLED TO EXPLAIN THE MIXUP, I STILL BELIEVED



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 1    YOU.   NOT TWO MONTHS EARLIER, I LAID IN MY OWN HOSPITAL BED.

 2    ALLEGEDLY, YOU WERE IN THE HOSPITAL TOO, YOU HAD BEEN

 3    TRANSFERRED TO A SPECIAL HOSPITAL WHERE THEY WERE MORE ABLE TO

 4    HELP YOU, AFTER ALL, YOU WERE DYING OF CANCER, WITH THE ADDED

 5    COMPLICATION OF PULMONARY EMBOLISMS.

 6           I PULLED MY STRENGTH FROM YOU.   IRONICALLY, PULMONARY

 7    EMBOLISMS ALMOST TOOK MY LIFE, AND I WONDERED HOW YOU SURVIVED

 8    IT ALL.

 9           I ATTENDED THE HEARING WHERE YOU PLED GUILTY.      I SPENT

10    LITTLE TIME BEING ANGRY.    I SPENT ALMOST NO TIME WISHING FOR MY

11    MONEY BACK.   WHAT I DID FEEL WAS A SLIMY DISGUST, A REPULSION

12    THAT CAN ONLY BE FELT FROM THE THOUGHT OF CREATING SUCH AN

13    ELABORATE SCHEME.

14           I SPENT A WEEK WONDERING IF ANYBODY IS WHO THEY SAY WHO

15    THEY ARE.   I FEEL SAD.   SAD FOR THE PEOPLE I CRIED WITH, SAD

16    FOR THE PEOPLE WHO BENT OVER BACKWARDS TO GIVE YOU A SPECIAL

17    LAST CHRISTMAS WITH YOUR MIRACLE CHILDREN, ONE WHO WAS

18    ALLEGEDLY BORN DURING THE BRUNT OF YOUR CANCER, WE CALLED HIM A

19    MIRACLE.    HE STILL IS A MIRACLE.

20           I REMEMBER A CHURCH SERVICE WHERE YOU STOOD ON STAGE AND

21    THE CONGREGATION THREW MONEY AT YOUR FEET.     AND I CAN'T HELP

22    BUT THINK THAT IS THE MOST PERFECT METAPHOR.        RESTITUTION IS SO

23    LITTLE, I WOULD HAVE POURED BY BLOOD OUT ANYWAYS.

24           I WAS A PLATELET DONOR LONG BEFORE I MET YOU.      BUT NOW

25    KNOWING YOUR ENTIRE STORY IS FAKE, THAT THERE WERE NO MEDS, WAS



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 1    NO LAST CHANCE TRIAL, NO COUPLE MONTHS TO LIVE, I NOW KNOW THE

 2    BLOOD WASN'T FOR YOU.

 3           AMANDA, I DON'T WISH BAD ON YOU, I IMAGINE YOU ARE

 4    SUFFERING ENOUGH.    I DON'T WANT MONEY, I WANT MY TEARS BACK, I

 5    WANT MY PRAYERS BACK, AND IN THIS, I DO WANT JUSTICE.

 6           THANK YOU FOR LISTENING.

 7               THE COURT:    THANK YOU, MS. WILDER.

 8           MR. PITMAN, THE NEXT INDIVIDUAL.

 9               MR. PITMAN:    THANK YOU, YOUR HONOR.

10           IF MS. SOUZA IS AVAILABLE AND INTERESTED IN SPEAKING, NOW

11     IS YOUR OPPORTUNITY.

12               THE COURT:    YES, BUT I NEED YOU TO COME FORWARD TO

13     THE MICROPHONE.    SAY THAT AGAIN.

14               THE WITNESS:   MAY MY HUSBAND COME STAND WITH ME?

15               THE COURT:    OF COURSE HE CAN.   WELCOME.   TELL ME YOUR

16     NAME FIRST.

17               THE WITNESS:   MY NAME IS ALETTA SOUZA.      I'M JESSA

18     RILEY'S MOTHER, AMANDA'S STEPDAUGHTER.

19               THE WITNESS:   AND MY NAME IS DAVID.

20               THE COURT:    GOOD MORNING.

21               THE WITNESS:   I DID NOT WANT TO WRITE THIS AT FIRST

22     DUE TO THE EMOTIONS AND ANGER IT REHASHES.

23           THE TRUTH IS, UNLESS YOU WERE THERE TO SEE EXACTLY WHAT

24     MYSELF AND MY FAMILY WENT THROUGH, IT WILL NEVER BE FULLY

25     UNDERSTOOD.



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 1           I WILL DO MY BEST TO EXPLAIN THE UNRELENTING HARASSMENT

 2    AND MANIPULATION THAT MYSELF AND MY FAMILY SUFFERED THROUGH AS

 3    A DIRECT RESULT OF AMANDA RILEY'S LIES.

 4           MY DAUGHTER JAYMIE, WHO IS MY DAUGHTER FROM MY FIRST

 5    MARRIAGE, WAS DIAGNOSED WITH ACUTE LYMPHOCYTIC LEUKEMIA IN

 6    SEPTEMBER OF 2002.    SHE WAS UNABLE TO BE OUT IN PUBLIC OR

 7    ATTEND SCHOOL BECAUSE SHE WAS IMMUNOCOMPROMISED, THEREFORE MY

 8    HUSBAND AT THE TIME, CORY RILEY, AND MYSELF, DID OUR BEST TO

 9    ACCOMMODATE JAYMIE'S NEEDS FROM HOME.

10           ONE OF THE THINGS WE DID WAS HIRE AMANDA RILEY TO COME

11    INTO OUR HOME AND TEACH JAMIE CHEERLEADING.      THIS IS HOW OUR

12    FAMILY MET 17-YEAR-OLD AMANDA RILEY.

13           A FEW YEARS LATER, CORY AND I DIVORCED, WE SHARED OUR

14    DAUGHTER JESSA.    AMANDA RILEY REAPPEARED IN OUR LIVES AND

15    MARRIED BY EX-HUSBAND, CORY RILEY.     AMANDA WAS A BIG PART OF

16    JESSA'S LIFE BECAUSE WE HAD SHARED CUSTODY.      CO-PARENTING CAN

17    BE TRICKY, AND ADDING A STEPMOM TO THE MIX, EVEN MORE

18    DIFFICULT, BUT WE MANAGED FOR A BIT, AND THEN THINGS CHANGED.

19           AMANDA ANNOUNCED SHE WAS TERMINALLY ILL WITH CANCER.        I

20    FELT AWFUL FOR WHAT WAS AHEAD.     AS SOMEONE THAT CARED FOR A

21    CHILD OF CANCER, I KNEW THE ROAD AHEAD WOULD BE FILLED WITH UPS

22    AND DOWNS FOR THEM, AS WELL AS FOR MY DAUGHTER JESSA, WHO WAS

23    PART OF HER DAD'S AND AMANDA'S LIFE.

24           CANCER CAN BE CRUEL AND EXHAUSTING.     AND I KNEW HOW TO TRY

25    TO PUT DIFFERENCES ASIDE, I TRIED REALLY HARD TO KEEP IN MIND



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 1    WHAT THEY WERE DEALING WITH AND HOW OUR DAUGHTER JESSA WOULD

 2    BEAR DURING IT ALL.

 3           IT DIDN'T TAKE LONG TO SEE HOW AMANDA AND CORY USED HER

 4    CANCER DIAGNOSIS TO MANIPULATE EVERYONE AROUND THEM FROM VERY

 5    EARLY ON.   IT BECAME CLEAR THAT HER TERMINAL DIAGNOSIS WAS

 6    AFFECTING EVERY ASPECT OF US TRYING TO CO-PARENT.

 7           THE CLAIMS OF FINANCIAL HARDSHIP DUE TO HER MEDICAL

 8    EXPENSES WERE CONSTANT, EXCUSES FOR ANYTHING THAT WAS NOT

 9    CARRIED OUT WERE BLAMED ON HER CANCER AND HIS NEED TO CARE FOR

10    HER.

11           THIS WAS SO DIFFICULT BECAUSE I BELIEVED AMANDA RILEY WAS

12    DYING OF CANCER, BUT FELT LIKE THEY USED HER DIAGNOSIS TO

13    MANIPULATE AND TAKE ADVANTAGE WHEN IT CAME TO CO-PARENTING AND

14    CORY'S FINANCIAL OBLIGATIONS AS JESSA'S FATHER.

15           I WAS ALWAYS PRESENTED TO THE COURTS BY CORY'S ATTORNEY,

16    CHARICE FISCHER, AS THE DIFFICULT EX-WIFE, THE UNCARING BITCH

17    THAT WAS TRYING TO MAKE CORY'S LIFE HELL WHILE HIS WIFE WAS

18    DYING OF CANCER.

19           ANY CHANCE TO SHOWCASE AMANDA'S CANCER WAS IN FULL FORCE.

20    SHE WOULD COME TO THE COURT WITH A SHAVED HEAD, THEY WOULD

21    PROVIDE MEDICAL BILLS TO PROVE FINANCIAL HARDSHIP.      THEY WOULD

22    CHANGE COURT DATES DUE TO CANCER TREATMENTS AND APPOINTMENTS,

23    ANYTHING THAT COULD BE MANIPULATED WAS, AND IT COST ME

24    THOUSANDS OF DOLLARS OVER THE YEARS.

25           THE FINANCIAL HARDSHIPS THE COURT ALLOTTED TO MY EX DUE TO



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 1    AMANDA RILEY'S CANCER EXPENSES, DIMINISHED ANY FINANCIAL

 2    SUPPORT MY DAUGHTER RECEIVED, AND IN SOME INSTANCES, RESULTED

 3    IN ME HAVING TO PAY CHILD SUPPORT TO HIM.

 4           FAMILY COURT JUDGES WERE CONSTANTLY HEARING HOW HIS WIFE

 5    WAS DYING FROM CANCER, AND YET THEY WERE PRESENTING THEMSELVES

 6    TO THE COURT AS THE PERFECT PARENTS FOR JESSA, AND I WAS THE

 7    ONE MAKING THINGS DIFFICULT AND BEING SELFISH.

 8           JESSA'S FAMILY COURT-APPOINTED ATTORNEY, SHEILA PETERSON,

 9    WOULD NEVER LISTEN TO MY CONCERNS ABOUT JESSA, SHE WAS ONLY

10    INTERESTED IN MAKING MY EX AND HIS DYING WIFE, MAKING SURE THEY

11    WERE ACCOMMODATED ABOVE AND BEYOND, AGAIN COSTING ME THOUSANDS

12    OF DOLLARS, AND NOT TO MENTION THE PHYSICAL AND MENTAL TOLL ON

13    MY WELL BEING.

14           THINGS WERE HARD ENOUGH WHEN I WAS UNDER THE ASSUMPTION

15    THAT SHE WAS TRULY SICK WITH TERMINAL CANCER, BUT THEN

16    EVERYTHING CHANGED WHEN I LEARNED OF THE INVESTIGATION OF

17    AMANDA RILEY AND HER SICKENING LIE THAT SHE DID NOT HAVE CANCER

18    AT ALL.   SHE WAS LYING, AND I IMMEDIATELY THOUGHT OF MY

19    DAUGHTER AND HOW THIS WAS GOING TO AFFECT HER.

20           NOW WE KNOW THE DOCUMENTS SUBMITTED TO FAMILY COURT

21    REGARDING AMANDA'S CANCER TREATMENT EXPENSES WERE ALL A LIE,

22    AND JUST HOW MUCH MANIPULATION WENT ON AT MY EXPENSE AND MY

23    DAUGHTER'S EXPENSE, AGAIN COSTING THOUSANDS OF DOLLARS AND

24    CHILD SUPPORT AND ATTORNEYS FEES THAT COULD HAVE GONE TOWARDS

25    RAISING MY DAUGHTER.



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 1           I LET THE COURT, THE ATTORNEYS, JESSA'S COUNSELOR, AND

 2    ANYONE WHO WOULD LISTEN, KNOW ABOUT THE INVESTIGATION INTO

 3    AMANDA RILEY, AND WELL, IT GOT WORSE, NO ONE BELIEVED ME, AND

 4    SOMEHOW NOW I WAS THE BAD PARENT BECAUSE I WAS NOT GOING ALONG

 5    WITH THE NARRATIVE EVERYONE HAD FALLEN PREY TO.      I BECAME THE

 6    ONE WHO SAID IT OUT LOUD, "THIS WOMAN DOES NOT HAVE CANCER, SHE

 7    IS FAKING CANCER."

 8           THE COURTS, DOCTORS, TEACHERS, PARENTS OF MY DAUGHTER'S

 9    FRIENDS, COACHES, COUNSELORS, ET CETERA, ALL ASSUMED THAT I WAS

10    MAKING THIS UP AND SPREADING HORRIBLE LIES, WHICH ALL HAD A

11    DIRECT EFFECT ON CO-PARENTING IN ONE WAY OR ANOTHER.

12           I LOST CUSTODY OF THE JESSA FOR A BRIEF TIME.     I HAD TO

13    PAY THOUSANDS IN CHILD SUPPORT AND ATTORNEYS FEES BECAUSE MY

14    EX-HUSBAND'S ATTORNEY, CHARICE FISCHER, NEGLECTED TO CHECK THE

15    AUTHENTICITY OF THE MEDICAL DOCUMENTS SHE SUBMITTED TO FAMILY

16    COURT.   NO ONE WOULD CONTACT THE INVESTIGATORS, REGARDLESS OF

17    ME PROVIDING THE INFORMATION TO DO SO.

18           THE FAMILY COURT SYSTEM, AND THOSE INVOLVED, FAILED MY

19    ENTIRE FAMILY MISERABLY, BECAUSE EVERYONE BELIEVED AMANDA RILEY

20    WAS TERMINALLY ILL OF CANCER.

21           EVERYTHING MY DAUGHTER DID AS A FAMILY WITH HER FATHER,

22    CENTERED AROUND AMANDA RILEY'S CANCER.      FUNDRAISERS, CANCER

23    EVENTS, FREE SPORTING EVENTS, FREE CHILDCARE, FREE MEALS, FREE

24    GIFTS, FREE GYMNASTIC LESSONS, TENNIS LESSONS, AND ON AND ON.

25           MY DAUGHTER HAD BEEN PARTICIPATING IN A WEALTH OF GENEROUS



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 1    EVENTS AND GIFTS GIVEN BY A COMMUNITY THAT HAD BEEN LIED TO.

 2           THIS HAD BEEN GOING ON FOR YEARS, AND ALL THAT TIME, MY

 3    DAUGHTER BELIEVED THAT HER STEPMOM WAS DYING.

 4           AMANDA RILEY WOULD TELL MY DAUGHTER SHE HAD A FEW MONTHS

 5    TO LIVE, AND THEN A MIRACLE, SHE WAS IN REMISSION, AND THEN

 6    AGAIN DYING, AND THEN REMISSION, AND ON AND ON.

 7           THE TOLL THAT TAKES ON A CHILD, AND THAT DAMAGE CAUSED, IS

 8    IMMEASURABLE.    MY DAUGHTER WAS SO DISTRAUGHT OVER THE YEARS,

 9    NOT KNOWING WHAT EACH DAY WOULD BRING FOR HER AND HER YOUNGER

10    BROTHERS.    ALL I COULD DO WAS ASSURE HER THAT HER STEPDAD,

11    DAVE, AND I WERE ALWAYS GOING TO BE THERE FOR HER.

12           THE DAILY JOYS IN LIFE THAT, AS A MOM, YOU TAKE FOR

13    GRANTED, WERE TAKEN FROM ME.    I WAS THE OUTCAST THAT HAD SAID

14    IT OUT LOUD, "AMANDA RILEY DOES NOT HAVE CANCER."      THAT IS ALL

15    AMANDA RILEY NEEDED TO HEAR TO CONTINUE TO HAVE ME OSTRACIZED

16    IN ALL SOCIAL EVENTS INVOLVING MY DAUGHTER.      I WAS UNABLE TO

17    ENJOY JESSA'S SOCCER GAMES, GYMNASTICS, SCHOOL EVENTS, ANYTHING

18    THAT INTERACTED WITH OTHER PARENTS, BECAUSE OF AMANDA RILEY.

19           AS JESSA GOT OLDER, SHE STARTED TO REALIZE THAT THINGS

20    DIDN'T ADD UP.    SHE WOULD SEE MEDICAL EQUIPMENT HIDDEN AROUND

21    THE HOUSE.    SHE WOULD ASK HER FATHER WHY HE NEVER WENT TO CHEMO

22    TREATMENTS WITH AMANDA, WHY AMANDA WOULD TELL SOMEONE HOW SICK

23    IN BED SHE WAS, BUT YET JESSA KNEW SHE WASN'T.

24           SHE WAS A LITTLE GIRL TRYING TO GET ANSWERS, BUT INSTEAD,

25    SHE WOULD GET IN TROUBLE FOR ASKING QUESTIONS.      HOW AMANDA



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 1    RILEY COULD DO THIS TO A YOUNG GIRL IS BEYOND DISGUSTING, IT'S

 2    ABUSIVE.    IT WAS TRULY A NIGHTMARE, AND IT HAS NEVER STOPPED.

 3    IT WENT ON FROM 2012 UNTIL NOW, EIGHT YEARS, AND IS STILL GOING

 4    ON.

 5           JESSA IS 19 YEARS OLD, MARRIED, AND LEADING HER OWN LIFE

 6    NOW.   AND TO THIS DAY, WHEN SHE ASKS AMANDA OR HER FATHER ABOUT

 7    THE CHARGES, COURT HEARINGS, OR ANYTHING ABOUT WHAT'S GOING ON,

 8    SHE IS TOLD BY BOTH OF THEM, "THINGS AREN'T AS THEY SEEM."

 9           IT IS SAD AND MY DAUGHTER IS HEARTBROKEN.      AMANDA RILEY'S

10    CANCER LIES, CONSTANT NEED FOR ATTENTION AND GREED, WAS ALL

11    THAT MATTERED TO HER.    SHE DESPERATELY TRIED TO RUIN MY

12    REPUTATION AND TRIED TO RUIN THE RELATIONSHIP BETWEEN ME AND MY

13    DAUGHTER.    SHE WANTED ME LEFT WITH NOTHING, IT WAS LIKE I WAS A

14    TARGET SHE HAD TO DESTROY.

15           I LOST CRUCIAL YEARS WITH MY DAUGHTER.       I CAN'T GET BACK

16    THAT TIME.    I CAN'T FIX WHAT AMANDA DID TO MYSELF OR MY

17    DAUGHTER, BUT I CAN LEAVE IT IN THE PAST, AND THAT'S WHAT I'M

18    HOPING TO DO.

19           IT IS MY HOPE YOUR HONOR WILL SENTENCE AMANDA TO

20    SUBSTANTIAL TIME IN PRISON SO THAT SHE CAN REALIZE WHAT SHE DID

21    TO SO MANY PEOPLE AND THAT THERE WILL BE JUSTICE FOR WHAT MY

22    DAUGHTER AND OUR FAMILY HAVE BEEN THROUGH FOR OVER EIGHT YEARS.

23           THIS CANCER SCAM AFFECTED MYSELF, MY HUSBAND, MY PARENTS,

24    AND MORE IMPORTANTLY, ALL THREE OF MY CHILDREN, IN ONE WAY OR

25    ANOTHER.



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 1           THE CANCER SCAM THAT AMANDA AND MY EX-HUSBAND CARRIED OUT

 2    DESTROYED THE RELATIONSHIP BETWEEN MY DAUGHTER AND THEM, AND

 3    FOR NOW, IT IS SOMETHING THAT IS LEFT UNRESOLVED, AND THAT, IN

 4    ITSELF, IS THE WORST PART OF ALL.

 5           THANK YOU.

 6               THE COURT:    THANK YOU.

 7           MR. PITMAN, ANOTHER VICTIM WISH TO SPEAK?

 8               MR. PITMAN:    THANK YOU, YOUR HONOR.

 9           IF MS. RILEY IS HERE AND WOULD LIKE TO SPEAK, NOW IS YOUR

10     OPPORTUNITY.

11               THE WITNESS:   HELLO.   MY NAME IS JESSA GONZALEZ.

12               THE COURT:    GOOD MORNING.

13               THE WITNESS:   I WILL HAVE MY MOM COME UP WITH ME.

14               THE COURT:    YES, OF COURSE.

15               THE WITNESS:   AMANDA RILEY HAS BEEN PART OF MY LIFE

16     SINCE I WAS SIX MONTHS OLD.    SHE CAME INTO OUR LIVES WHEN SHE

17     AGREED TO TEACH MY OLDER SISTER, JAYMIE, CHEERLEADING AT HOME

18     WHILE HE WAS SICK WITH LEUKEMIA.

19           WHEN I WAS SEVEN YEARS OLD, SHE BECAME AN EVEN BIGGER PART

20     OF MY LIFE AS MY FATHER'S NEW GIRLFRIEND.      I GREW UP EXTREMELY

21     CLOSE WITH HER, AND WHEN I WAS TEN YEARS OLD, MY LIFE AS A

22     FAMILY WAS TURNED UPSIDE DOWN WHEN SHE TOLD ME SHE WAS SICK.

23     SHE TOLD ME SHE HAD CANCER.

24           I REMEMBER BEING TERRIFIED AS SHE AND MY FATHER TOLD ME

25     SHE WOULDN'T BE AROUND MUCH LONGER.       SHE BEGAN GOING TO HER



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 1     TREATMENTS AND SEEMED TO FALL ILL AT THE TIME.

 2           ONE DAY AFTER SCHOOL, SHE PICKED ME UP AND HAD A BEANIE ON

 3    AND TOLD ME HER HAIR BEGAN FALLING OUT, SO SHE SHAVED IT OFF.

 4    I REMEMBER VISITING WHEN SHE ASKED ME EXCITEDLY IF I WANTED TO

 5    SEE.   I REMEMBER BEING TAKEN ABACK, BECAUSE I FIGURED IT WOULD

 6    BE A SORE SUBJECT.    SHE PULLED OFF HER BEANIE AND GLADLY SHOWED

 7    ME HER SHAVED HEAD.    AT THIS TIME, I WAS JUST A CHILD, AND

 8    BELIEVED SHE WAS SICK.

 9           AS YEARS WENT BY, HER SUPPORT GROUP GREW RAPIDLY.     SHE

10    CREATED SUPPORTAMANDA.COM.     MANY PEOPLE HEARD HER STORY AND

11    WANTED TO HELP.    THE DONATIONS BEGAN FLOWING IN ONLINE.

12           AROUND THIS TIME, MY FATHER AND AMANDA GAINED FULL CUSTODY

13    OF ME, AND I WAS FRONT AND CENTER WITH THEM IN THEIR FIGHT FOR

14    AMANDA'S LIFE.    OVER THE YEAR-AND-A-HALF THAT THEY HAD FULL

15    CUSTODY OF ME, THINGS BEGAN TO SEEM ODD.      AMANDA WAS ALWAYS

16    SICK, NEVER BEING ABLE TO GET OUT OF BED, BUT I WOULD NEVER SEE

17    HER GO TO APPOINTMENTS.    SHE HAD ALWAYS LOOKED HEALTHY.

18           I NOTICED SHE WOULD STARVE HERSELF UNTIL SHE WOULD PASS

19    OUT.   THE ONE EVENT THAT CHANGED MY WHOLE PERSPECTIVE WAS WHEN

20    I WAS CLEANING UP MY LITTLE BROTHER'S PLAYROOM AND I FOUND AN

21    IV WRAPPED IN SARAN WRAP.     I BROUGHT IT TO HER AND ASKED WHY

22    SHE HAD IT AND WHY IT WAS IN MY LITTLE BROTHER'S PLAYROOM.

23           SHE QUICKLY TOOK IT FROM ME AND SAID MY LITTLE BROTHER

24    TOOK IT OUT OF HER NIGHTSTAND.     I KNEW BETTER THAN TO QUESTION

25    HER, AS SHE WAS REGULARLY LASH OUT AT ME.



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 1           SOON AFTER THIS EVENT, I BEGAN HAVING VISITATION WITH MY

 2    MOM.   I MENTIONED WHAT HAD HAPPENED WITH AMANDA'S IV, AND ALL

 3    OF THE OTHER THINGS THAT SEEMED ODD.     SHE BROKE DOWN AND TOLD

 4    ME THAT THERE WAS AN INVESTIGATION ON AMANDA AND THAT SHE DID

 5    IN FACT DID NOT HAVE CANCER.

 6           I WAS SHOW SHOCKED AT THIS POINT.    I HAD BEEN LIED TO FOR

 7    ABOUT THREE YEARS AND HAD BEEN TOLD MULTIPLE TIMES THAT SHE

 8    ONLY HAD MONTHS TO LIVE.    SO FROM THEN ON, I WAS FORCED TO LIVE

 9    WITH KNOWING SHE WAS FAKING CANCER.

10           SEEING ALL OF THE VICTIMS BEING TAKEN ADVANTAGE OF BROKE

11    MY HEART.   I WAS THERE WITH THEM CREATING HER PERFECT --

12    CREATING HER IMAGE OF A PERFECT FAMILY WITH A SICK MOM.      I

13    COULDN'T HELP BUT FEEL LIKE I WAS HELPING THEM, ACCEPTING

14    DONATIONS, MEALS, MY FREE TENNIS LESSONS, GYMNASTICS LESSONS,

15    CHRISTMAS GIFTS AND SO ON.    IT BROKE ME, LOVING AND CARING

16    ABOUT ALL OF THE PEOPLE WHO WERE BEING ROBBED, AND BEING A PART

17    OF IT.

18           AFTER MOVING BACK WITH MY MOM WHEN I WAS 13, I THOUGHT

19    AMANDA COULDN'T GET TO ME ANYMORE.     I WAS WRONG.   SHE ENDED UP

20    THREATENING MY RELATIONSHIP WITH MY LITTLE BROTHERS UNLESS I

21    CONTINUED TO BELIEVE SHE HAD CANCER.     SHE WOULD TELL ME SHE

22    WASN'T IN ANY TROUBLE AND BLAMED THE WHOLE STORY ON MY MOM.

23           SHE TOLD ME THAT THE PATH WAS GOING DOWN WOULDN'T LEAD ME

24    ANYWHERE, AND WOULD TRY TO MAKE ME FEEL WORTHLESS, ALL BECAUSE

25    I REFUSED TO BELIEVE HER LIES.



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 1           I COULD GO ON FOR HOURS ABOUT AMANDA AND ALL OF THE

 2    HORRIBLE THINGS SHE HAS DONE, BUT WHAT IT BOILS DOWN TO IS

 3    THIS, TO THIS DAY, SHE IS STILL THREATENING MY RELATIONSHIP

 4    WITH MY BROTHERS.    SHE ATTEMPTED TO RUIN MY RELATIONSHIP WITH

 5    MY MOTHER, RUIN MY RELATIONSHIP WITH MY FATHER, AND HAS PAINTED

 6    ME AS A LIAR.

 7           AMANDA HAS AFFECTED ME IN MORE WAYS THAN ANYBODY KNOWS.       I

 8    HAVE BEEN DEPRESSED FOR YEARS.     I HAVE SEVERE ANXIETY.   I HAVE

 9    A HARD TIME SLEEPING AT NIGHT.     MY HAIR IS FALLING OUT FROM

10    SEVERE STRESS, AND SOME DAYS I CAN'T PHYSICALLY FUNCTION

11    BECAUSE OF HOW BAD SHE HAS SCARRED ME.     THIS IS MY LIFE NOW.     I

12    HOPE TO HEAL ONE DAY.     IT'S GOING TO TAKE TIME AND PATIENCE,

13    BUT THAT IS MY GOAL.

14           AND IT IS MY HOPE, YOUR HONOR, THAT YOU CAN TRULY

15    UNDERSTAND THE PAIN THIS WOMAN HAS CAUSED TO NOT ONLY ME, BUT

16    TO EVERY SINGLE PERSON INVOLVED.

17           THIS CASE RUNS SO MUCH DEEPER THAN MONEY, AND IT'S TIME

18    THAT AMANDA TRULY UNDERSTANDS THAT HERSELF.

19               THE COURT:    THANK YOU, MS. GONZALEZ.

20           MR. PITMAN, WAS THERE A FOURTH INDIVIDUAL?

21               MR. PITMAN:    ONE MORE, YOUR HONOR.

22           MS. BERRY, IF YOU ARE AVAILABLE AND WOULD LIKE TO SPEAK,

23     NOW IS YOUR OPPORTUNITY.

24               THE WITNESS:    YOUR HONOR, MY NAME IS LISA BERRY.      AND

25     I THANK YOU FOR TAKING THIS TIME TO HEAR HOW MY FAMILY'S LIFE



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 1     HAS BEEN IMPACTED BY THE ACTIONS OF AMANDA.

 2           THIS CASE IS ABOUT AMANDA FAKING A CANCER DIAGNOSIS SINCE

 3    JUNE 2012.   JUNE 2012 IS WHEN AMANDA HAD ANNOUNCED TO HER

 4    FAMILY, FRIENDS, AND THE WORLD, THAT SHE WAS JUST DIAGNOSED

 5    WITH CANCER, AFTER GIVING BIRTH TO HER FIRST CHILD.

 6           SHE SHARED AN EXTENSIVE MEDICAL BLOG FOR MANY YEARS

 7    DETAILING HER CANCER FIGHT.    AMANDA RILEY CAME INTO OUR LIVES

 8    IN 2010, A FULL TWO YEARS BEFORE SHE PUBLICLY CLAIMED THAT SHE

 9    HAD BEEN DIAGNOSED WITH CANCER.

10           THE RELATIONSHIP STARTED THROUGH THE FRIENDSHIP OF MY

11    DAUGHTER AND AMANDA'S STEPDAUGHTER.     THE GIRLS WERE IN THE

12    THIRD GRADE, AND AMANDA AND HER HUSBAND, CORY, CHARMED THEIR

13    WAY INTO OUR LIVES VERY QUICKLY.     WE BECAME FRIENDS AND SPENT A

14    GREAT DEAL OF TIME TOGETHER FOR A YEAR.

15           DURING OUR TIME AS FRIENDS, WE WERE TOLD MANY THINGS BY

16    AMANDA AND CORY RILEY THAT I BELIEVED TO BE TRUE, UNTIL WE FELT

17    INFORMATION DID NOT ADD UP, AND IT FINALLY LEAD TO THE COMPLETE

18    BREAKDOWN IN OUR FRIENDSHIP WHEN I CONFRONTED AMANDA RILEY

19    ABOUT THE LIES THEY HAD TOLD US.

20           DURING THE TIME OF OUR FRIENDSHIP, AMANDA TOLD US THAT SHE

21    WAS A PHD STUDENT AT STANFORD STUDYING CLINICAL PSYCHOLOGY.

22    SHE WAS NOT.   SHE TOLD US THAT THEY OWNED THEIR HOME, THEY DID

23    NOT.   SHE TOLD ME SHE WAS CHILDHOOD CLASSMATES WITH A FAMOUS

24    ACTRESS AND THEY TOOK DANCE CLASSES TOGETHER, THEY DID NOT.

25           BUT NOTHING COULD PREPARE ME FOR WHAT SHE COULD LIE ABOUT,



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 1    CANCER.    THAT'S RIGHT.   TWO YEARS BEFORE SHE PUBLICLY CLAIMED

 2    TO FIRST BE DIAGNOSED, SHE TOLD ME AND MY HUSBAND THAT SHE HAD

 3    CANCER.

 4            A COUPLE MONTHS INTO OUR FRIENDSHIP, AGAIN, THIS WAS 2010,

 5    I TOLD AMANDA ABOUT THIS WONDERFUL FUNDRAISER THAT TOOK PLACE

 6    FOR A FAMILY AT SCHOOL.    THE FATHER HAD BRAIN CANCER, AND I

 7    SPOKE ABOUT HOW THE COMMUNITY RAISED OVER A HUNDRED THOUSAND

 8    DOLLARS FOR THIS FAMILY.

 9            THE VERY NEXT MORNING, AMANDA RILEY TOLD ME THAT SHE HAD

10    CANCER, THAT SHE WAS UNDERGOING CHEMOTHERAPY TREATMENT AND THAT

11    SHE WOULD NOT BE ABLE TO HAVE CHILDREN.     TO SAY I WAS SHOCKED

12    IS AN UNDERSTATEMENT, AS WE HAD BEEN FRIENDS FOR SEVERAL

13    MONTHS, AND THIS WAS THE FIRST I WAS HEARING OF HER DIAGNOSIS.

14            I FELT TERRIBLE FOR HER, SO YOUNG AND DEALING WITH SO

15    MUCH.    I FOUND MYSELF IN TEARS THINKING ABOUT THIS YOUNG WOMAN

16    PLANNING HER WEDDING, GOING TO STANFORD, AND ALL THE WHILE

17    FIGHTING CANCER.    I WAS SO SADDENED BY IT.

18            MY HUSBAND WAS ALSO SAD FOR THEM, BECAUSE HE HAD LOST HIS

19    FIRST WIFE TO CANCER, AND WAS DEVASTATED FOR AMANDA AND CORY

20    BECAUSE HE KNEW WHAT FIGHTING CANCER WAS LIKE.      AMANDA AND CORY

21    ALSO KNEW ABOUT MY HUSBAND'S FIRST WIFE'S PASSING, AFTER A

22    NINE-YEAR BATTLE WITH CANCER.

23            WE MADE OURSELVES AVAILABLE TO HELP EVERY TIME WE WERE

24    ASKED.    MY HUSBAND TALKED TO ME ABOUT HOW HE WOULD NEED TO BE

25    THERE FOR CORY AND HELP HIM THROUGH THE PAIN OF SEEING HIS WIFE



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 1    SO SICK, AND IT WOULD BE OVERWHELMING AND VERY HARD FOR THEM.

 2    MY HUSBAND KNEW WHAT IT WAS LIKE, AND HE JUST WANTED TO HELP.

 3            VERY QUICKLY, WE WERE HELPING AMANDA WITH HER

 4    STEPDAUGHTER, PICKING HER UP FROM SCHOOL, BECAUSE AMANDA TOLD

 5    US SHE WAS IN THE HOSPITAL.       DRIVING HER TO SCHOOL, BECAUSE

 6    AMANDA WAS TOO SICK FROM CHEMOTHERAPY TO GET OUT OF BED,

 7    WATCHING JESSA OVERNIGHT BECAUSE AMANDA NEEDED CORY BY HER SIDE

 8    AT THE HOSPITAL FOR OVERNIGHT TESTS.

 9            THEN SOMETHING CHANGED.    ALL OF THE CANCER TALK SEEMED TO

10    FADE A BIT AS AMANDA AND CORY PLANNED THEIR WEDDING.       IT SEEMED

11    LIKE SEVERAL MONTHS WENT BY WITH NO NEED FOR HELP WITH HER

12    CANCER SCHEDULE.    I FOUND IT ODD, BUT ALSO THOUGHT SHE PROBABLY

13    WANTED TO FOCUS ON THE HAPPINESS AHEAD, AND I COULD UNDERSTAND

14    THAT.

15            WHEN THEY RETURNED FROM THEIR HONEYMOON, THEY STARTED

16    TALKING ABOUT HER CANCER AGAIN.      THEN CAME AUGUST 24TH, 2011,

17    MY BIRTHDAY.    AMANDA AND CORY CAME TO MY BIRTHDAY PARTY, AND

18    CORY WAS TELLING MY HUSBAND AND ANOTHER FRIEND HOW SICK AMANDA

19    HAD BEEN AND SHE DIDN'T THINK SHE WOULD MAKE IT TO THE PARTY.

20    HE SAID AMANDA HAD BEEN QUITE ILL.      HE TOLD THEM SHE NOW HAD

21    STAGE 4 CANCER AND ONLY MONTHS TO LIVE.

22            MY HUSBAND WAS DEVASTATED TO HEAR THIS.     HE HAD BEEN

23    THROUGH THIS BEFORE AND HE KNEW HOW EXCRUCIATING AND PAINFUL

24    THIS WOULD BE FOR THEM.    IT REALLY BROUGHT BACK SO MUCH PAST

25    PAIN FOR HIM.    I WAS EQUALLY DEVASTATED.



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 1           SHORTLY AFTER MY BIRTHDAY, SHE ASKED ME FOR MONEY FOR

 2    BLOOD TESTS SHE NEEDED SO SHE COULD LIVE.     WE GAVE HER THE

 3    NEEDED MONEY.   WITHIN A COUPLE DAYS, SHE POSTED GLAMOROUS

 4    PHOTOS OF HERSELF TAKEN BY A PROFESSIONAL PHOTOGRAPHER.      I

 5    BECAME SUSPICIOUS THAT THE MONEY I HAD GIVEN HER WAS USED TO

 6    PAY FOR THIS PHOTO SHOOT.

 7           A FEW DAYS LATER SHE SHOWED UP AT OUR HOME TO PICK UP HER

 8    STEPDAUGHTER WHO I WAS WATCHING, BECAUSE AMANDA HAD BEEN IN THE

 9    HOSPITAL.   AFTER TELLING ME SHE HAD FLUID DRAINED FROM HER

10    BRAIN THAT SAME DAY, SHE PROCEEDED TO SWIM IN MY POOL, FULLY

11    UNDER WATER.    THIS JUST DIDN'T MAKE SENSE TO ME, AND I STARTED

12    QUESTIONING EVERYTHING.

13           THE MORE I THOUGHT ABOUT THEIR SITUATION, THE MORE I

14    THOUGHT, WHY ISN'T HER FAMILY HERE?     SHE IS TERMINALLY ILL AND

15    HER PARENTS AND SIBLINGS ARE NOT COMING AROUND TO HELP BE WITH

16    HER.   I KNEW THEY WERE CLOSE, I MET THEM AT THE WEDDING, AND I

17    COULDN'T IMAGINE THEM NOT BEING THERE FOR AMANDA AND CORY.

18           THINGS WEREN'T SITTING RIGHT WITH ME, SO I DECIDED TO DO

19    SOME RESEARCH ON THINGS SHE HAD TOLD ME THAT WERE EASY TO

20    IDENTIFY.   FOR INSTANCE, STANFORD DID NOT HAVE A CLINICAL

21    PSYCHOLOGY PHD PROGRAM.    I ALSO FOUND THE RECENT CRAIGSLIST

22    LISTING FOR THE RENTAL HOUSE THAT THE RILEY'S HAD JUST MOVED

23    INTO THAT AMANDA TOLD ME THEY HAD PURCHASED WITH THE HELP OF

24    HER PARENTS.

25           I KEPT IGNORING HER CALLS HOPING SHE WOULD TAKE THE HINT



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 1    AND JUST GO AWAY, UNTIL I REALIZED I WOULD HAVE TO CONFRONT HER

 2    WITH THE TRUTH IN ORDER TO GET RID OF THESE PEOPLE.

 3           THE NEXT TIME SHE CALLED, I ANSWERED.    AMANDA IMMEDIATELY

 4    TOLD HE ME SHE WAS PREGNANT.    I SAID, I THOUGHT YOU WERE DYING.

 5    I THOUGHT YOU WERE DYING.    AND SHE ACTUALLY HAD THE NERVE TO

 6    TELL ME THE PREGNANCY WAS REVERSING THE DISEASE.

 7           I HAD HAD ENOUGH.   I DEMANDED TO KNOW THE NAME OF HER

 8    ONCOLOGIST, AND THE NAME SHE GAVE ME DIDN'T EXIST.      I DEMANDED

 9    SHE RETURN THE MONEY WE HAD GIVEN HER, AND I TOLD HER OF THE

10    RESEARCH I HAD DONE THAT EXPOSED ALL THE LIES THEY HAD BEEN

11    TELLING US.   I BLOCKED HER AND CORY'S PHONES FROM CALLING ME

12    AND NEVER TALKED WITH EITHER OF THEM AGAIN.

13           WE WERE SO ANGRY THAT SOMEONE WOULD ACTUALLY LIE ABOUT

14    HAVING CANCER.    MY HUSBAND WAS HURT AND SPEECHLESS THAT OUR

15    FRIENDS COULD PERPETRATE SUCH A DISGUSTING LIE, THAT THIS

16    COUPLE WITH WHOM WE WERE FRIENDS, A MAN WHO MY HUSBAND STOOD UP

17    FOR AT HIS WEDDING, WERE CAPABLE OF SUCH A CON.

18           THEY KNEW WHAT MY HUSBAND HAD BEEN THROUGH, AND THEY

19    MANIPULATED OUR EMOTIONS TO GET WHAT THEY WANTED; ATTENTION AND

20    MONEY.

21           I THOUGHT I WOULD NEVER HEAR ABOUT AMANDA AND CORY RILEY

22    AGAIN, BUT THAT WASN'T THE CASE.     YEARS LATER, I LEARNED THAT

23    AMANDA AND CORY WERE AT IT AGAIN, NOW PRETENDING TO BE

24    DIAGNOSED IN 2012, A FULL TWO YEARS AFTER TELLING US THAT SHE

25    WAS TERMINALLY ILL IN 2010.



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 1           AMANDA RILEY WAS FAKING CANCER AND SCAMMING ON AN EVEN

 2    LARGER SCALE.    MY HUSBAND AND I WERE REVOLTED TO LEARN THAT

 3    THIS WAS HAPPENING ALL OVER AGAIN.

 4           WE WILL BE FOREVER DISGUSTED WHEN WE THINK ABOUT THE

 5    MANIPULATION AMANDA AND CORY RILEY PUT US THROUGH, ALONG WITH

 6    SO MANY OTHERS.

 7           I FELT IT WAS IMPORTANT THAT I SPEAK OUT TODAY ON BEHALF

 8    OF MYSELF AND MY HUSBAND, BECAUSE EVEN AFTER BEING CONFRONTED

 9    IN 2011 ABOUT FAKING CANCER, AMANDA RILEY DIDN'T FEEL ASHAMED

10    ABOUT WHAT SHE HAD DONE, RATHER SHE HONED HER STORY AND

11    ESCALATED IT TO ANOTHER LEVEL OF GREED, AND I BELIEVE IF SHE IS

12    NOT GIVEN A BIG ENOUGH DETERRENCE, SHE WILL DO IT AGAIN,

13    BECAUSE THAT'S EXACTLY WHAT SHE DID AFTER I CONFRONTED HER.

14           YOUR HONOR, I TRUST YOUR WISDOM, AND I HOPE THAT YOU WILL

15    ASSIGN AN EXTENSIVE SENTENCE ON AMANDA RILEY FOR THE CRIME THAT

16    SHE HAS COMMITTED.

17                 THE COURT:    THANK YOU, MS. BERRY.

18           MR. PITMAN, OTHERS?

19                 MR. PITMAN:   I DON'T BELIEVE SO, YOUR HONOR.

20           I THINK THAT'S ALL THE VICTIMS THAT WOULD LIKE TO SPEAK

21     TODAY.

22                 THE COURT:    THANK YOU TO ALL OF YOU FOR YOUR

23     COMMENTS.

24           MR. GANTAR, I'M GOING TO TURN TO YOU.       I FEEL IT'S

25    IMPORTANT TO LET YOU KNOW BEFORE YOU MAKE YOUR COMMENTS TO ME,



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 1    THAT HAVING READ THE VICTIM STATEMENTS AND BEING AMPLIFIED BY

 2    THEIR PRESENCE IN COURT, IT IS MY INTENTION TO SENTENCE

 3    MS. RILEY TO AN ABOVE-GUIDELINE SENTENCE, AND I WANT YOU TO

 4    HAVE THE OPPORTUNITY TO RESPOND TO THAT, RATHER THAN HEARING IT

 5    AFTERWARDS.

 6               MR. GANTAR:   THANK YOU, YOUR HONOR.

 7           I THINK EVERYONE AGREES THIS IS AN EXTREMELY DIFFICULT AND

 8    CHALLENGING, AND FRANKLY, A STRANGE CASE.

 9           AS THE COURT IS WELL AWARE, THE OFFENSE CONDUCT MS. RILEY

10    HAS ADMITTED TO IT IN HER PLEA AGREEMENT, AND IT'S DESCRIBED IN

11    THE PRESENTENCE REPORT, MS. RILEY DOES ACCEPT FULL

12    RESPONSIBILITY FOR THAT CONDUCT.     SHE ACKNOWLEDGES THAT THE

13    OFFENSE TO WHICH SHE'S PLED GUILTY IS A SERIOUS ONE.

14           AND I THINK IN LINE WITH THAT, DESPITE WHAT YOUR HONOR

15    JUST INFORMED ME OF, THE DEFENSE DID NOT SEEK A DOWNWARD

16    VARIANCE FROM THE GUIDELINES.     WE WERE REQUESTING A GUIDELINE

17    SENTENCE IN THIS CASE, AND I THINK THAT IS IN LINE WITH

18    MS. RILEY'S ACKNOWLEDGEMENT THAT THIS IS A SERIOUS OFFENSE, AND

19    IN LINE AND IN CONFORMANCE WITH HER ACCEPTANCE OF

20    RESPONSIBILITY.

21           WITH THAT SAID, YOUR HONOR, I WANT TO JUST BRIEFLY ADDRESS

22    SOME OF THE 3553(A) FACTORS HERE, BEGINNING WITH MS. RILEY'S

23    BACKGROUND.

24               THE COURT:    YES.

25               MR. GANTAR:   AS THE COURT KNOWS, SEVERAL INDIVIDUALS



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 1     DID WRITE LETTERS FOR MS. RILEY, HER FAMILY, INCLUDING FORMER

 2     COLLEAGUES, ALL OF WHOM AWARE OF THE OFFENSE CONDUCT.      SHE'S

 3     DESCRIBED AS SOMEONE WHO IS CLEARLY CAPABLE OF POSITIVELY

 4     CONTRIBUTING TO HER COMMUNITY AND TO HER FAMILY.

 5           AGAIN, YOUR HONOR, I THINK THAT'S WHAT MAKES THIS CASE

 6     STRANGE IN SO MANY WAYS, IS THAT MS. RILEY HAD AN OPPORTUNITY,

 7     I THINK, TO EMBARK ON WHAT APPEARS TO HAVE BEEN A PRETTY

 8     SUCCESSFUL CAREER IN EDUCATION, THAT'S OF COURSE BEEN DESTROYED

 9     AND WON'T BE REJUVENATED, DESPITE HER POSITIVE CONTRIBUTIONS IN

10     THAT FIELD.

11           SHE'S ALSO THE CARING MOTHER TO TWO YOUNG BOYS, BOTH OF

12    WHOM WILL OBVIOUSLY BE SEVERELY IMPACTED BY TODAY'S PROCEEDINGS

13    FOR SOME TIME TO COME.    MY UNDERSTANDING IS THEY VERY MUCH RELY

14    ON MS. RILEY FOR THEIR CARETAKING NEEDS AND FOR THEIR

15    SCHOOLING, AND I THINK THAT'S AN IMPORTANT THING TO ACCOUNT FOR

16    TOO, THE ROLE MS. RILEY PLAYS IN THEIR LIVES.

17           THERE'S OBVIOUSLY MENTAL HEALTH ISSUES, YOUR HONOR, THAT

18    RUN QUITE DEEPLY, I THINK IN THIS CASE, AND OTHER HEALTH

19    ISSUES.   MS. RILEY OBVIOUSLY DID NOT HAVE CANCER.     SHE DOES NOT

20    HAVE CANCER, BUT THERE ARE THESE CONDITIONS.

21           AND I WON'T GO INTO THOSE, BUT THEY ARE REFERENCED IN THE

22    PRESENTENCE REPORT.    AND THE REALITY IS I THINK AN EXTENSIVE

23    PRISON TERM IS GOING TO BE MORE DIFFICULT FOR SOMEONE WHO HAS

24    CONDITIONS OF THAT SORT AS OPPOSED TO SOMEONE WHO IS IN

25    EXCELLENT OR OTHERWISE GOOD HEALTH.



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 1           AND THE GOVERNMENT FILED A RESPONSE IN THIS CASE TO OUR

 2    SENTENCING MEMORANDA, AND I WANTED TO CLARIFY ONE THING.      OUR

 3    POSITION IS NOT THAT THE B.O.P. CANNOT CARE FOR MS. RILEY,

 4    THAT'S NOT THE POSITION WE ARE TAKING.     AS THE COURT KNOWS, WE

 5    ARE ASKING THE COURT TO IMPOSE A PARTIAL B.O.P. TERM TODAY.

 6           WITH THAT SAID, YOUR HONOR, I WANTED TO INFORM THE COURT

 7    THAT THERE ARE A LIMITED AMOUNT OF B.O.P. FACILITIES THROUGHOUT

 8    THE NATION THAT ARE SPECIFICALLY DESIGNATED FOR WOMEN.      AND SO

 9    I WANTED TO JUST BRING THIS TO THE COURT'S ATTENTION THAT

10    MS. RILEY AND HER FAMILY, ALONG WITH HER CHILDREN, CURRENTLY

11    RESIDE IN AUSTIN, TEXAS.

12           SHE OBVIOUSLY WISHES TO REMAIN CLOSE TO THEM DURING HER

13    PERIOD OF INCARCERATION TO FACILITATE REGULAR VISITS WITH THEM.

14    AND I HAVE DONE SOME RESEARCH INTO THIS, AND WHAT I FOUND IS

15    THERE REALLY ONLY APPEARS TO BE TWO SUITABLE FACILITIES THAT

16    ARE WITHIN A REASONABLE OR SUITABLE DRIVING DISTANCE FROM

17    AUSTIN, TEXAS.    ONE OF THOSE IS FCP BRYAN, WHICH IS LOCATED IN

18    BRYAN, TEXAS.    THAT'S ABOUT A TWO-HOUR DRIVE FROM AUSTIN.

19           THE OTHER IS FMC CARSWELL, WHICH IS IN FORTH WORTH.

20    THAT'S ABOUT A THREE AND A HALF HOUR DRIVE FROM AUSTIN.      AND WE

21    WOULD BE ASKING TODAY, THE COURT MAKE A RECOMMENDATION TO THOSE

22    TWO B.O.P. FACILITIES IN IMPOSING SENTENCE.

23           AS THE COURT KNOWS, REGULAR FAMILY VISITS ARE DIFFICULT

24    FOR INDIVIDUALS WHO ARE INCARCERATED, BUT THEY ARE IMPORTANT,

25    AND I KNOW MS. RILEY WOULD LIKE TO REMAIN REGULAR CONTACT WITH



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 1    HER FAMILY DURING HER PERIOD OF INCARCERATION.       AND I THINK

 2    THAT VERY MUCH WOULD FACILITATE REHABILITATION AND HER REENTRY

 3    ONCE THAT TERM IS DONE.

 4           AND SO FOR THAT REASON, WE WOULD RESPECTFULLY ASK THE

 5    COURT MAKE THAT RECOMMENDATION, WHEN IMPOSING SENTENCE, TO

 6    THOSE TWO FACILITIES.

 7           THAT IS ALL, YOUR HONOR, UNLESS THE COURT HAS ANY FURTHER

 8    QUESTIONS.

 9                 THE COURT:   MS. RILEY, THIS IS YOUR OPPORTUNITY TO

10     MAKE A STATEMENT.    WOULD YOU LIKE TO DO THAT?

11                 THE DEFENDANT:   YES, YOUR HONOR.

12                 THE COURT:   AND MR. GANTAR, IF YOU WOULD PULL THAT

13     MICROPHONE CLOSER TO MS. RILEY.

14                 THE DEFENDANT:   YOUR HONOR, THERE AREN'T ENOUGH WORDS

15     TO ADEQUATELY EXPRESS HOW HORRIFIC I FEEL AND HOW SORRY I AM

16     THAT THIS HAPPENED.

17           MY HEART ACHES EVERY DAY, THINKING THAT I DID SOMETHING

18     THAT HURT OTHER PEOPLE.      THIS IS THE WORST THING I'VE EVER DONE

19     AND THE WORST MISTAKE I COULD HAVE MADE.

20           I DON'T SLEEP WELL AT NIGHT BECAUSE THIS HAUNTS ME DAILY.

21     I CAN'T EVEN LOOK AT MYSELF IN THE MIRROR WITHOUT FEELING

22     ASHAMED, AND I'M SO SORRY.

23           LOOKING BACK AND RECOGNIZING THAT I HURT A LOT OF PEOPLE,

24     CRUSHES ME, AND IT HAS FOR A REALLY LONG TIME NOW.      I HAVE BEEN

25     DEALING WITH THE REPERCUSSIONS OF THIS FOR YEARS.      I THREW AWAY



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 1     MY DREAM CAREER, LOST ALL MY FRIENDS AND FAMILY.      I WENT FROM

 2     BEING A NOBODY, TO BEING NEGATIVELY COVERED IN DOZENS OF

 3     TABLOIDS AND NEWS ARTICLES.

 4            I'M PARANOID I'M BEING FOLLOWED ALL THE TIME, AND I'M TOO

 5     SCARED TO OPEN SOCIAL MEDIA MESSAGES FOR FEAR OF WHAT THEY WILL

 6     SAY AND THE HURTFUL THINGS THAT PEOPLE HAVE SAID TO ME.

 7            UNTIL TODAY, I HAVE NEVER PUBLICLY ADDRESSED THIS, AND

 8     IT'S TIME I STEP FORWARD AND BE ACCOUNTABLE, TO TRY TO DO -- TO

 9     TRY TO RIGHT THIS WRONG.

10            I'M HERE TO ACCEPT RESPONSIBILITY AND HUMBLY ACCEPT MY

11    CONSEQUENCES AS THE FIRST STEP OF SHOWING EVERYONE I WANT TO

12    MAKE THIS RIGHT.    I WILL SPEND THE REST OF MY LIFE WORKING

13    TOWARDS THE AMENDS FOR THE HURT THAT I HAVE CAUSED.

14            I WANT TO PUBLICLY APOLOGIZE TO ALL THE VICTIMS IN THIS

15    CASE, SPECIFICALLY THE CHURCH AND THOSE WHO PARTICIPATED OR

16    HELPED WITH FUNDRAISING, TO ALL OF THE KIND, LOVING PEOPLE WHO

17    HELPED US.    I ASK THAT YOU NOT BE DETERRED FROM YOUR SERVANT'S

18    HEART BECAUSE OF MY MISTAKE.    PLEASE CONTINUE TO HELP THOSE IN

19    NEED.

20            I WANT TO APOLOGIZE TO MY FAMILY.   CORY, MY HUSBAND, MY

21    PARENTS, MY BROTHERS, OUR BEST FRIENDS THAT WE CONSIDER FAMILY,

22    AND OUR KIDS.    OUR LIVES WILL NEVER BE THE SAME BECAUSE OF MY

23    CHOICES, AND I'M SO SORRY FOR THAT.

24            JESSA, MY BONUS DAUGHTER, I HOPE THIS BRINGS YOU THE

25    CLOSURE AND CLARITY YOU HAVE BEEN SEEKING.     I'M SO SORRY YOU



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 1    WERE IN THE DARK FOR WHAT WAS TRULY HAPPENING FOR SO LONG.         YOU

 2    HAD TO WALK THROUGH THIS, AND IT BREAKS MY HEART TO KNOW I HURT

 3    YOU.    I DO LOVE YOU AND ALWAYS HAVE LOVED YOU LIKE YOU WERE MY

 4    OWN.    THERE IS NOTHING I CAN DO OR SAY TO MAKE THIS BETTER FOR

 5    YOU EXCEPT TO PROMISE, THROUGH MY ACTIONS, THAT I WILL WORK

 6    EACH DAY FOR THE REST OF MY LIFE TO REBUILD OUR RELATIONSHIP

 7    FROM THE HURT I HAVE CAUSED YOU, AND I HOPE ONE DAY WE CAN GET

 8    THERE.

 9            OUR TWO YOUNG BOYS WERE BABIES WHEN THIS STARTED, SO THEY

10    WERE TOO LITTLE TO BE AFFECTED BY MY BAD CHOICES.      AND CORY AND

11    I HAVE WORKED SO HARD TO PROTECT AND SHELTER THEM FROM THIS SO

12    THEY COULD LIVE NORMAL LIVES.

13            NOW TO SEE THEM AS BIG BOYS WHO ARE GOING TO SEE THEIR MOM

14    GO THROUGH THIS PROCESS, IS GOING TO FLIP THEIR WORLD UPSIDE

15    DOWN.

16            BEING A GOOD MOM IS WHAT I HAVE ALWAYS WANTED MOST IN THIS

17    WORLD, AND IT'S MY JOB TO LOVE AND PROTECT THEM, SO IT BREAKS

18    MY HEART MOST OF ALL THAT THE REASON THEY ARE GOING TO BE HURT

19    AND NOT SEE THEIR MOM EVERY DAY, IS BECAUSE OF ME.

20            I HUMBLY WRITE THIS TO YOU AS A WAY OF ACCOUNTABILITY, A

21    FIRST STEP TO TRY TO RIGHT A TERRIBLE WRONG, AND I PROMISE TO

22    SPEND THE REST OF MY LIFE WORKING TO BETTER MYSELF.      I PROMISE

23    I WILL SPEND THE REST OF MY LIFE SPENT HELPING OTHERS AND NOT

24    HURTING THEM.

25            THANK YOU FOR HEARING MY STATEMENT.



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 1               THE COURT:    THANK YOU.

 2           MR. PITMAN, COMMENTS FROM THE UNITED STATES?

 3               MR. PITMAN:   I DON'T HAVE ANYTHING TO ADD,

 4     YOUR HONOR.

 5           I APPRECIATE THE COURT'S INDULGENCE IN LISTENING TO THE

 6     VICTIMS' STATEMENTS AND REVIEWING THE SUBMISSIONS -- THE

 7     STATEMENTS THAT WERE SUBMITTED IN SUPPORT OF THE PSR.

 8               THE COURT:    COMMENTS FROM PROBATION?

 9               PROBATION OFFICER:    I HAVE NOTHING FURTHER TO ADD,

10     YOUR HONOR.

11           THANK YOU.

12               THE COURT:    I WANT TO THANK ALL OF THE VICTIMS AND

13     YOUR FAMILY MEMBERS FOR COMING TODAY.     I RECOGNIZE HOW VERY

14     DIFFICULT IT IS TO COME INTO A COURTROOM AND TO HAVE TO SAY THE

15     THINGS YOU ARE SAYING AND FEEL WHAT YOU ARE FEELING BY BEING

16     HERE.   THANK YOU FOR BEING HERE.

17           IT IS MY OBLIGATION, UNDER THE LAW, TO CONSIDER THE

18    FACTORS IN SENTENCING UNDER SECTION 3553(A), IN ORDER TO ENSURE

19    A SENTENCE THAT IS SUFFICIENT, BUT NOT GREATER THAN NECESSARY,

20    TO COMPLY WITH THE PURPOSES OF SENTENCING.

21           IT'S HARD TO KNOW WHERE TO BEGIN HERE.       IN CONSIDERING

22    THIS CRIME, BASED UPON ALL OF THE INFORMATION PROVIDED THROUGH

23    THE PLEA AGREEMENT AND PROBATION, IT IS CLEAR, MS. RILEY, THAT

24    YOU PREYED ON THE KINDNESS AND GOOD WILL OF INNOCENT, LOVING

25    PEOPLE FOR OVER SEVEN YEARS.



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 1           YOU INVADED SANCTITY OF COMMUNITIES AND GRIEVING MEMBERS

 2    OF SUPPORT GROUPS.    YOU BETRAYED FOR FAMILY.       YOU EITHER DUPED

 3    OR CAUSED YOUR HUSBAND TO ACT IN CONCERT WITH YOUR SCHEME, SO

 4    THAT HE RUINED THE LIFE OF HIS OWN DAUGHTER FOR YOUR FAKERY.

 5    YOU DEFRAUDED PEOPLE OF THEIR MONEY, OF THEIR GOOD WILL, OF

 6    THEIR BELIEFS.

 7           I CAN ONLY IMAGINE THAT, OVER EIGHT YEARS, YOU WERE AS

 8    SINCERE TO THOSE PEOPLE AS YOU APPEARED TO ME TODAY.        AND I

 9    HAVE TO SAY THAT IN LISTENING TO YOU TODAY, I COULD ONLY

10    IMAGINE WHAT A GOOD ACT YOU HAD FOR EIGHT YEARS IN FRONT OF

11    CHURCHES AND COMMUNITY GROUPS AND IN YOUR BLOG AND ONLINE AND

12    WITH YOUR CHILDREN.

13           IN CONSIDERING MR. GANTAR'S COMMENT ABOUT YOUR OWN

14    CHILDREN, IT BREAKS MY HEART TO THINK THAT YOUR BOYS WILL

15    HAVE -- WILL NOT HAVE THEIR MOTHER WITH THEM.        BUT IT WAS YOUR

16    RESPONSIBILITY BEFORE YOU COMMITTED THESE FRAUDS, TO THINK

17    ABOUT YOUR PARENTAL OBLIGATIONS.     IT IS NOT THE COURT'S JOB TO

18    CLEAN THAT UP FOR YOU.

19           YOU ARE HERE TODAY FOR ME TO CONSIDER PUNISHMENT, AND

20    THEREFORE IN CONSIDERING THE NATURE AND CIRCUMSTANCES OF A

21    CRIME, INCLUDING THE SEVEN-YEAR PERIOD OF THE FAKED CANCER,

22    PUBLICIZED IN THE COMMUNITY AND ACROSS SOCIAL MEDIA, YOU

23    SOLICITED FINANCIAL SUPPORT AND EMOTIONAL SUPPORT FOR

24    NONEXISTENT MEDICAL TREATMENT.     YOU SOUGHT GOOD WILL AND

25    ASSISTANCE FROM YOUR NEIGHBORS, FROM THE CHURCH, FROM CANCER



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 1    SUPPORT GROUPS, ALL AS A RUSE TO SUPPORT YOUR OWN LIFESTYLE.

 2           THIS INCLUDED DECEPTION AND THEFT, FORGED MEDICAL RECORDS,

 3    PREYING ON THE GOOD WILL OF STRANGERS, FRIENDS AND FAMILY, AND

 4    THE SIGNIFICANT IMPACT ON VICTIMS.

 5           YOU HAVE VIRTUALLY SHATTERED THE LIFE OF YOUR

 6    STEPDAUGHTER, AND YOU CLAIM YOU LOVE HER.     I DON'T THINK THAT'S

 7    ENOUGH TO MAKE AMENDS.

 8           IT APPEARS THAT THE NUMBER OF VICTIMS MAY BE IN EXCESS OF

 9    350 PEOPLE, AND THE AMOUNT OF MONEY THAT YOU SCAMMED FROM THESE

10    INNOCENT PEOPLE APPEARS TO BE OVER $105,000.

11           IN CONSIDERING THE SERIOUSNESS OF THE CRIME, THERE IS NO

12    DOUBT THAT THIS IS A VERY SERIOUS CRIME.     I HAVE TO FURTHER

13    CONSIDER PUBLIC SAFETY AND THE NEED FOR DETERRENCE.

14           I DO FIND THE PUBLIC TO BE AT SIGNIFICANT RISK FROM YOU.

15    I DO BELIEVE THAT THIS WILL HAPPEN AGAIN.     MS. BERRY'S COMMENTS

16    TO THE COURT MAKE THAT CLEAR, THAT BEING CONFRONTED WITH YOUR

17    LIES SEEMED TO BE NO DETERRENT WHATSOEVER, AND THEREFORE I FIND

18    THE PUBLIC TO CONTINUE TO BE AT RISK FROM YOUR CONTINUED FRAUD.

19           I ALSO BELIEVE THAT BY IMPOSING A SENTENCE THAT IS

20    REASONABLE UNDER THE CIRCUMSTANCES, THAT THERE WILL BE A

21    DETERRENT EFFECT FOR OTHERS.

22           I HAVE ALSO CONSIDERED YOUR PERSONAL CHARACTERISTICS.       I

23    RECOGNIZE THAT YOU GREW UP IN A STABLE HOME, AND ALTHOUGH YOUR

24    PARENTS HAD MARITAL PROBLEMS, YOU WERE WELL EDUCATED, YOU

25    EARNED A MASTER'S DEGREE, YOU HAD GOOD EMPLOYMENT IN EDUCATION



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 1    FOR A NUMBER OF YEARS.      YOU ARE THE MOTHER OF TWO YOUNG

 2    CHILDREN.

 3           I RECOGNIZE THAT YOU SUFFER FROM A NUMBER OF HEALTH

 4    AILMENTS THAT REQUIRE MEDICAL ATTENTION AND MENTAL HEALTH

 5    ISSUES, I'VE TAKEN ALL OF THAT INTO ACCOUNT.         I RECOGNIZE THAT

 6    YOU HAVE NO PRIOR ARREST RECORD, AND I HAVE CONSIDERED ALL OF

 7    THAT AS WELL.    AND I WILL CONSIDER THAT FOR A SENTENCE THAT IS

 8    SUFFICIENT, BUT NOT GREATER THAN NECESSARY, TO COMPLY WITH THE

 9    PURPOSES OF SECTION 3553(A).

10           PROBATION AND THE GOVERNMENT RECOMMEND A HIGH GUIDELINE OF

11    18 MONTHS.

12           YOU ARE RECOMMENDING SIX MONTHS IN PRISON FOLLOWED BY SIX

13    MONTHS OF HOME DETENTION; IS THAT CORRECT, MR. GANTAR?

14                 MR. GANTAR:   YES, YOUR HONOR.

15                 THE COURT:    I DON'T ACTUALLY CONSIDER THAT IN THE

16     GUIDELINE.    BUT IN MY VIEW, THE GUIDELINE SENTENCE IS NOT

17     SIGNIFICANT ENOUGH TO PUNISH FOR THIS CRIME, EVEN TAKING ALL OF

18     YOUR OWN PERSONAL CHARACTERISTICS INTO ACCOUNT.

19           I WILL IMPOSE AN UPWARD VARIANCE OF THE GUIDELINE

20    SENTENCE, AND I WILL SENTENCE YOU TO 60 MONTHS IN PRISON.

21           THIS CRIME CARRIES A MAXIMUM PRISON SENTENCE OF 20 YEARS.

22    I CONSIDER THIS TO BE A SIGNIFICANT REDUCTION FROM THE MAXIMUM,

23    ALTHOUGH IT'S HARD TO IMAGINE WHO WOULD BE MORE DESERVING OF A

24    MAXIMUM SENTENCE FOR MAIL FRAUD THAN YOU.

25           IT IS OUR UNITED STATES CONGRESS THAT SET THAT 20-YEAR



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 1    MAXIMUM, AND IT IS MY VIEW THAT 60 MONTHS IS FAIR AND

 2    REASONABLE UNDER THE CIRCUMSTANCES.

 3           WITH THAT IN MIND, IS THERE ANYTHING ELSE?      I ASSUME THAT

 4    RESTITUTION WILL BE DONE SEPARATELY, THE PARTIES MAY WISH TO

 5    TALK ABOUT WHETHER THERE WILL BE A HEARING FOR THAT OR NOT.

 6               MR. PITMAN:    YES, YOUR HONOR.

 7               THE COURT:    ALL RIGHT.    THERE IS NO FORFEITURE,

 8     MR. PITMAN?

 9               MR. PITMAN:    THAT'S CORRECT, YOUR HONOR.

10               THE COURT:    OKAY.

11               MR. GANTAR:    YOUR HONOR, IF I MAY INTERRUPT?

12               THE COURT:    YES.

13               MR. GANTAR:    I'M SORRY.

14           MY UNDERSTANDING FROM THE GOVERNMENT IS THAT THEY ARE

15     REQUESTING A SET AMOUNT OF RESTITUTION.

16               THE COURT:    YES, BUT IF YOU HAVEN'T AGREED TO IT, WE

17     WILL SET A SEPARATE HEARING FOR IT AND GIVE YOU THE OPPORTUNITY

18     TO REACH AN AGREEMENT.

19               MR. GANTAR:    WE HAVE NO OBJECTION TO THE GOVERNMENT'S

20     REQUEST OF THAT RESTITUTION ORDER.

21               MR. PITMAN:    I CAN PREPARE AN ORDER FOR YOUR HONOR.

22               THE COURT:    ALL RIGHT.    GOOD.   THEN WE DON'T NEED

23     THAT.

24           AND I'M NOT GOING TO IMPOSE A FINE.

25               MR. GANTAR:    YOUR HONOR, I APOLOGIZE, ONE MORE THING.



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 1           WE WOULD MAKE A REQUEST THE COURT WAIVE INTEREST ON

 2     RESTITUTION.   MS. RILEY IS, AS NOTED IN THE PRESENTENCE REPORT,

 3     UNABLE TO AFFORD PAYMENT OF A FINE.     WE WOULD REQUEST THE COURT

 4     EXERCISE IT'S DISCRETION AS WELL TO WAIVE INTEREST ON

 5     RESTITUTION AS WELL.

 6               THE COURT:    SO IT WOULD BE PRINCIPLE ONLY AND NO

 7     INTEREST, IS THAT WHAT YOU ARE ASKING FOR?

 8               MR. GANTAR:    CORRECT.

 9               THE COURT:    IS THERE ANY OBJECTION TO THAT?

10               MR. PITMAN:    YOUR HONOR, JUST FOR REFERENCE, THE

11     INDIVIDUAL RESTITUTION AMOUNTS ARE NOT LARGE AMOUNTS, AND SO

12     THE INTEREST ACCUMULATING ON THOSE INDIVIDUAL RESTITUTION

13     AMOUNTS FOR THE INDIVIDUAL VICTIMS WOULD BE NEGLIGIBLE.

14               THE COURT:    SO YOU ARE OBJECTING TO WAIVING IT.

15               MR. PITMAN:    I DO OBJECT TO WAIVING IT, HOWEVER I

16     DON'T BELIEVE IT'S A SIGNIFICANT FACTOR.

17               THE COURT:    OKAY.

18           PURSUANT TO THE SENTENCING REFORM ACT OF 1984, IT IS THE

19    JUDGMENT OF THE COURT THAT AMANDA RILEY IS HEREBY COMMITTED TO

20    THE CUSTODY OF THE BUREAU OF PRISONS FOR A PERIOD OF 60 MONTHS.

21           UPON RELEASE FROM IMPRISONMENT, THE DEFENDANT SHALL BE

22    PLACED ON SUPERVISED RELEASE FOR A TERM OF THREE YEARS.

23           WITHIN 72 HOURS OF RELEASE FROM CUSTODY OF THE BUREAU OF

24    PRISONS, THE DEFENDANT SHALL REPORT IN PERSON TO THE PROBATION

25    OFFICE IN THE DISTRICT TO WHICH SHE IS RELEASED.



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 1           WHILE ON SUPERVISED RELEASE, THE DEFENDANT SHALL NOT

 2    COMMIT ANOTHER FEDERAL, STATE OR LOCAL CRIME, SHALL COMPLY WITH

 3    THE STANDARD CONDITIONS THAT HAVE BEEN ADOPTED BY THIS COURT,

 4    EXCEPT THAT THE MANDATORY DRUG TESTING PROVISION IS SUSPENDED,

 5    AND SHALL COMPLY WITH THE FOLLOWING ADDITIONAL CONDITIONS:

 6           AND I WILL NOTE THAT I DO ADOPT THE JUSTIFICATION SET

 7    FORTH IN THE RECOMMENDATIONS.

 8           YOU MUST PAY ANY RESTITUTION AND SPECIAL ASSESSMENT THAT

 9    IS IMPOSED BY THIS JUDGMENT AND THAT REMAINS UNPAID AT THE

10    COMMENCEMENT OF THE TERM OF SUPERVISED RELEASE.

11           YOU MUST NOT OPEN ANY NEW LINES OF CREDIT, AND/OR INCUR

12    NEW DEBT WITHOUT THE PRIOR PERMISSION OF THE PROBATION OFFICER.

13           YOU MUST PROVIDE THE PROBATION OFFICER WITH ACCESS TO ANY

14    FINANCIAL INFORMATION, INCLUDING TAX RETURNS, AND MUST

15    AUTHORIZE THE PROBATION OFFICER TO CONDUCT CREDIT CHECKS AND

16    OBTAIN COPIES OF INCOME TAX RETURNS.

17           YOU MUST PARTICIPATE IN A MENTAL HEALTH TREATMENT PROGRAM

18    AS DIRECTED BY THE PROBATION OFFICER.     YOU ARE TO PAY PART OR

19    ALL OF THE COST OF THIS TREATMENT AT AN AMOUNT NOT TO EXCEED

20    THE COST OF TREATMENT, AS DEEMED APPROPRIATE BY THE PROBATION

21    OFFICER.

22           PAYMENTS MUST NEVER EXCEED THE TOTAL COST OF MENTAL HEALTH

23    COUNSELING.   THE ACTUAL COPAYMENT SCHEDULE MUST BE DETERMINED

24    BY THE PROBATION OFFICER.

25           YOU MUST COOPERATE IN THE COLLECTION OF DNA AS DIRECTED BY



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 1    THE PROBATION OFFICER.

 2           YOU MUST SUBMIT YOUR PERSON, RESIDENCE, OFFICE, VEHICLE,

 3    ELECTRONIC DEVICES AND THEIR DATA, INCLUDING CELL PHONES,

 4    COMPUTERS AND ELECTRONIC STORAGE MEDIA, OR ANY PROPERTY UNDER

 5    YOUR CONTROL TO A SEARCH.    SUCH A SEARCH MUST BE CONDUCTED BY A

 6    UNITED STATES PROBATION OFFICER, OR ANY FEDERAL, STATE OR LOCAL

 7    LAW ENFORCEMENT OFFICER AT ANY TIME, WITH OR WITHOUT SUSPICION.

 8           FAILURE TO SUBMIT TO SUCH A SEARCH MAY BE GROUNDS FOR

 9    REVOCATION.   YOU MUST WARN ANY RESIDENCE THAT THE PREMISES MAY

10    BE SUBJECT TO SEARCHES.

11           IT IS FURTHER ORDERED THAT THE DEFENDANT SHALL PAY TO THE

12    UNITED STATES A SPECIAL ASSESSMENT OF $100.

13           PAYMENT SHALL BE MADE TO:

14           THE CLERK OF THE UNITED STATES DISTRICT COURT

15           450 GOLDEN GATE AVENUE, BOX 36060

16           SAN FRANCISCO, CA 94102

17           DURING IMPRISONMENT, PAYMENT OF CRIMINAL MONETARY

18    PENALTIES ARE DUE AT A RATE OF NOT LESS THAN $25 PER QUARTER,

19    AND PAYMENT SHALL BE THROUGH THE BUREAU OF PRISONS INMATE

20    FINANCIAL RESPONSIBILITY PROGRAM.

21           THE COURT FINDS THAT THE DEFENDANT DOES NOT HAVE THE

22    ABILITY TO PAY THE FINE AND ORDERS IT TO BE WAIVED.

23           IT IS FURTHER ORDERED THAT THE DEFENDANT SHALL PAY

24    RESTITUTION IN THE AMOUNT OF -- MR. PITMAN, WHAT IS THAT

25    AMOUNT?



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 1                MR. PITMAN:   $105,513.

 2                THE COURT:    YOU WILL BE ORDERED TO PAY RESTITUTION IN

 3     THE AMOUNT OF $105,513.

 4           THAT'S TO A NUMBER OF DIFFERENT VICTIMS; IS THAT CORRECT?

 5                MR. PITMAN:   OVER 300, YOUR HONOR.

 6                THE COURT:    AND THAT LIST NEEDED TO BE PROVIDED AS

 7     PART OF THE JUDGMENT, I BELIEVE, WILL YOU SUBMIT THAT?

 8                MR. PITMAN:   YES, YOUR HONOR.

 9                THE COURT:    ALL RIGHT.   AND THAT WILL BE TO THE

10     VARIOUS VICTIMS, AS SET FORTH BY THE GOVERNMENT, IN A

11     SUBMISSION TO BE SUBMITTED TO THE COURT.

12           DURING IMPRISONMENT, PAYMENT OF RESTITUTION IS DUE AT THE

13     RATE OF NOT LESS THAN $25 PER QUARTER, AND PAYMENT SHALL BE

14     THROUGH THE BUREAU OF PRISONS INMATE FINANCIAL RESPONSIBILITY

15     PROGRAM.

16           ONCE THE DEFENDANT IS ON SUPERVISED RELEASE, RESTITUTION

17    MUST BE PAID IN MONTHLY PAYMENTS OF NOT LESS THAN ONE HUNDRED

18    DOLLARS, OR AT LEAST TEN PERCENT OF EARNINGS, WHICHEVER IS

19    GREATER, TO COMMENCE NO LATER THAN 60 DAYS FROM PLACEMENT ON

20    SUPERVISION.

21           NOTWITHSTANDING ANY PAYMENT SCHEDULE SET BY THE COURT, THE

22    UNITED STATES ATTORNEY'S OFFICE MAY PURSUE COLLECTION THROUGH

23    ALL AVAILABLE MEANS IN ACCORDANCE WITH 18 U.S. CODE

24    SECTION 3613 AND 3664(M).

25           THE RESTITUTION PAYMENT SHALL BE MADE TO:



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 1           THE CLERK OF THE UNITED STATES DISTRICT COURT:

 2           ATTENTION FINANCIAL UNIT.

 3           450 GOLDEN GATE AVENUE, BOX 36060.

 4           SAN FRANCISCO, CA 94102

 5           MS. RILEY, YOU MAY APPEAL YOUR CONVICTION CONSISTENT WITH

 6    THE WAIVERS IN YOUR PLEA, AND IF YOU FEEL THAT YOUR PLEA WAS

 7    SOMEHOW UNLAWFUL OR INVOLUNTARY OR THERE WAS SOME OTHER

 8    FUNDAMENTAL DEFECT IN THE PROCEEDING THAT WAS NOT WAIVED BY

 9    YOUR GUILTY PLEA.

10           ANY NOTICE OF APPEAL MUST BE FILED WITHIN 14 DAYS OF ENTRY

11    OF JUDGMENT OR WITHIN 14 DAYS OF FILING OF A NOTICE OF APPEAL

12    BY THE GOVERNMENT.

13           IF YOU CANNOT AFFORD TO PAY THE COST OF AN APPEAL OR FOR

14    AN ATTORNEY TO REPRESENT YOU ON APPEAL, YOU HAVE THE RIGHT TO

15    APPLY FOR LEAVE TO APPEAL IN FORMA PAUPERIS, WHICH MEANS THAT

16    YOU CAN ASK THE COURT TO WAIVE THE FILING FEE.       ON APPEAL, YOU

17    MAY APPLY FOR COURT-APPOINTED COUNSEL.

18           MR. PITMAN, IS THE GOVERNMENT OBJECTING TO VOLUNTARY

19    SURRENDER?

20                 MR. PITMAN:   NO, YOUR HONOR.

21                 THE COURT:    ALL RIGHT.   THEN I WILL ORDER YOUR

22     SURRENDER ON -- LET'S GET A DATE FOR THAT.

23                 THE CLERK:    HOW FAR OUT ARE WE LOOKING, YOUR HONOR?

24           DESIGNATION, I BELIEVE, USUALLY TAKES ANYWHERE FROM THREE

25     TO SIX WEEKS.



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 1                THE COURT:   THEN LET'S MAKE IT EIGHT WEEKS FROM NOW.

 2                THE CLERK:   THAT WOULD PUT US AT AUGUST 2ND,

 3     YOUR HONOR.

 4                THE COURT:   AUGUST 2ND OF 2022.

 5           MS. RILEY, YOU ARE TO REPORT TO THE FEDERAL CORRECTIONAL

 6     FACILITY THAT YOU ARE NOTIFIED TO REPORT TO.       IT WILL BE YOUR

 7     OBLIGATION TO PRESENT YOURSELF AT THAT LOCATION BY 2:00 P.M. ON

 8     AUGUST 2ND OF 2022.

 9           IF YOU ARE NOT NOTIFIED OF A PLACE TO REPORT, THEN THE

10    FIRST -- WITHIN A COUPLE OF WEEKS BEFORE YOUR REPORT DATE, I

11    RECOMMEND YOU CONTACT MR. GANTAR SO HE CAN ASSIST YOU.       IF

12    YOU'VE HEARD NOTHING, YOU ARE TO REPORT TO THIS COURTHOUSE TO

13    THE UNITED STATES MARSHAL, NO LATER THAN 2:00 P.M. ON THAT DAY.

14           SINCE YOU DON'T LIVE HERE, IT WOULD BE MUCH TO YOUR

15    ADVANTAGE TO MAKE SURE YOU KNOW WHERE YOU ARE TO REPORT.       IF

16    THE BUREAU OF PRISONS HASN'T MADE A DETERMINATION, THEN YOU

17    WILL BE -- THE UNITED STATES MARSHAL WILL PROBABLY TAKE YOU TO

18    SANTA RITA JAIL TO WAIT FOR YOUR TRANSFER TO A FEDERAL

19    FACILITY.

20           I WILL RECOMMEND TO THE BUREAU OF PRISONS YOUR PLACEMENT

21    IN EITHER FPC BRYAN OR CARSWELL, BUT THAT IS TO BE CONSISTENT

22    WITH THE BUREAU OF PRISONS'S DETERMINATION OF THE PROPER

23    CLASSIFICATION, AND I IN NO WAY INTEND TO OVERRULE THE

24    CLASSIFICATION CONSIDERATIONS OF THE BUREAU OF PRISONS.

25           ARE THERE ANY OTHER MATTERS TO CONSIDER THIS MORNING?



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 1               MR. PITMAN:   I HAVE TWO, YOUR HONOR.

 2           THE FIRST IS JUST TO CLARIFY, IS IT THE COURT'S INTENTION

 3     THAT THE DEFENDANT REMAIN UNDER THE SAME TERMS OF RELEASE THAT

 4     SHE'S BEEN UNDER DURING THE DURATION OF THE CASE?

 5               THE COURT:    YES, THAT IS MY ORDER.

 6           MS. RILEY, YOU ARE AWARE OF THE CONDITIONS OF YOUR

 7     PRETRIAL RELEASE, THEY ALL REMAIN IN FULL FORCE AND EFFECT

 8     UNTIL YOUR SURRENDER.    ANY VIOLATION OF THOSE CONDITIONS CAN

 9     CARRY SEPARATE AND SEVERE PENALTIES; DO YOU UNDERSTAND THAT?

10               THE DEFENDANT:    YES, YOUR HONOR.

11               MR. PITMAN:    THANK YOU, YOUR HONOR.

12           AND THEN THE SECOND ISSUE IS THAT THE GOVERNMENT WOULD

13     MAKE A MOTION TO DISMISS COUNT TWO OF THE PENDING INFORMATION.

14               THE COURT:    AND I WILL GRANT THAT REQUEST.

15           MR. GANTAR, ANYTHING ELSE?

16               MR. GANTAR:   JUST TO -- THANK YOU, YOUR HONOR, I MAY

17     HAVE MISSED IT, BUT IS THE COURT WAIVING INTEREST ON THE

18     RESTITUTION ORDER?

19               THE COURT:    NO, I AM NOT, THAT INTEREST GOES TO

20     INDIVIDUALS AND I AM NOT GOING TO WAIVE IT.

21               MR. GANTAR:    AND JUST FOR PURPOSES, YOUR HONOR, I DO

22     WANT TO LODGE AN OBJECTION TO THE COURT'S SENTENCE.

23               THE COURT:    I UNDERSTAND.

24           AND OF COURSE THAT CAN BE -- YOU ALWAYS RESERVE THE RIGHT

25     TO APPEAL AN ILLEGAL SENTENCE, AND I'VE GIVEN MS. RILEY HER



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 1     APPEAL RIGHT NOTIFICATION.    I BELIEVE THAT'S EVERYTHING.

 2               MR. PITMAN:    NOTHING FURTHER FROM THE GOVERNMENT,

 3     YOUR HONOR.

 4               THE COURT:    ALL RIGHT.   THANK YOU.

 5               MR. GANTAR:   THANK YOU.

 6           (THE PROCEEDINGS WERE CONCLUDED AT 10:52 A.M.)

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 1

 2

 3

 4                       CERTIFICATE OF REPORTER

 5

 6

 7

 8                  I, THE UNDERSIGNED OFFICIAL COURT

 9    REPORTER OF THE UNITED STATES DISTRICT COURT FOR

10    THE NORTHERN DISTRICT OF CALIFORNIA, 280 SOUTH

11    FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

12    CERTIFY:

13                  THAT THE FOREGOING TRANSCRIPT,

14    CERTIFICATE INCLUSIVE, CONSTITUTES A TRUE, FULL AND

15    CORRECT TRANSCRIPT OF MY SHORTHAND NOTES TAKEN AS

16    SUCH OFFICIAL COURT REPORTER OF THE PROCEEDINGS

17    HEREINBEFORE ENTITLED AND REDUCED BY COMPUTER-AIDED

18    TRANSCRIPTION TO THE BEST OF MY ABILITY.

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      _________________________
25    SUMMER A. FISHER, CSR, CRR
      CERTIFICATE NUMBER 13185                       DATED: 5/4/22
